        Case 4:06-cr-00104-JMM Document 165 Filed 02/05/07 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                                                      PLAINTIFF

V.                             NO. 4:06cr00104-01 JMM

COURTNEY ZRONE JOHNSON                                                     DEFENDANT



                                        ORDER

      The Court has reviewed the Report and Recommendation received from Magistrate

Judge Jerry Cavaneau.         There have been no objections.           The Report and

Recommendation is adopted in its entirety as this Court's finding.

      Accordingly, Defendant’s guilty plea, entered December 8, 2006, is hereby

accepted. Defendant is found guilty of the crime to which he tendered his guilty plea. The

written plea agreement is accepted, understanding that such acceptance is subject to the

provisions of the United States Sentencing Guidelines that “The Court is not bound by the

stipulation, but may, with the aid of the presentence report, determine the facts relevant

to sentencing.”

      IT IS SO ORDERED this 5th day of February, 2007.




                                              __________________________________
                                                UNITED STATES DISTRICT JUDGE
